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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF INDIANA
                              INDIANAPOLIS DIVISION

   UNITED STATES OF AMERICA,                    )
                                                )
         Plaintiff,                             )
                                                )
         v.                                     )
                                                ) NO. 1:20-cr-0096-TWP-DLP-07
   DESIRAE EVANS,                               )
                                                )
         Defendant.                             )

                                         ORDER

         This matter comes before the Court on the Government=s Motion to

   Dismiss Superseding Indictment. Upon consideration of the same, the Court

   GRANTS the Government=s Motion.

         IT IS THEREFORE ORDERED that the Superseding Indictment is

   dismissed without prejudice as to Desirae Evans, in lieu of the charges

   contained in the original Indictment. The charges contained in the original

   Indictment against Evans remain in full force and effect.

         So ORDERED this ______ day of October, 2020.



                                                   ____________________________
                                                   TANYA WALTON PRATT, Judge
                                                   United States District Court
                                                   Southern District of Indiana



   Distribution to all registered counsel via electronic notification.
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   United States Probation Office
